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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                    x
Edward Sanger

                       Plaintiff(s),                          INITIAL CONFERENCE
                                                              ORDER
       -against-                                              CV 22-4628 (EK) (AYS)

Harbor Freight Tools USA, Inc.

                       Defendant(s).
                                                     X

SHIELDS, United States Magistrate Judge:

Conference Date:       12/12/22 at 10:30 AM. The parties are directed to call the AT&T
                       Teleconferencing Center at (877) 810-9415 and to enter Access Code
                       9005911 when prompted. The parties are directed to confirm the date and
                       time of this conference with each other. In the event that an adjournment is
                       requested, any such request must be made pursuant to this Court’s
                       Individual Rules regarding adjournments and must be electronically filed
                       as a “Motion,” and not as a letter.

The above-captioned matter has been assigned to United States Magistrate Judge Anne Y.
Shields for the purposes of scheduling discovery, resolution of discovery disputes, settlement
Conferences, and any other purpose set forth in 28 U.S.C. § 636(b)(1)(A). Counsel for each
represented party and any party proceeding without an attorney (a “pro se” party) must appear
for an initial conference at the date and time indicated above.

Prior to the conference, all counsel and/or pro se parties are directed to meet and confer
regarding the discovery needs of this case, including a discussion of the exchange of
electronically stored information (“ESI”) and to prepare their INITIAL JOINT LETTER. To
assist in this process, the Court attaches to this Order its Individual Rules, as well as the
requirements for filing the Initial Joint Letter, that must be completed and submitted to the Court
via ECF at least two business days prior to the initial conference. At the conference, the Court
will consider the parties’ Initial Joint Letter and, upon consideration of the rules and practices of
the assigned District Judge, enter an appropriate scheduling order.

SO ORDERED.

Dated: Central Islip, New York
       August 9, 2022                                         /s/ Anne Y. Shields
                                                              Anne Y. Shields
                                                              United States Magistrate Judge
